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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                           Newport News Division

  UNITED STATES OF AMERICA,



        v.

  DERRICK MONTE ELLIS                                  Case No: 4:23-cr-78-006

         Defendant.




                                       ORDER

       The jurors in the above-entitled case having been sequestered on Thursday,

 December 19, 2024, IT IS ORDERED that the United States Marshal furnish the

 jury meals at the expense of the United States, submitting the bills to the Clerk of

 this Court for payment.




       December 20, 2024
            DATE                               UNITED STATES DISTRICT JUDGE
